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Page 356

 

 

 

2 A They didn?t" give: me explanation: : -
3 Q :.Other: than this lawsuit;, did you: file any
4 complaints against. the: Department of Children’ and: Ta
‘5 Fainilies:for this behavior? i: *
“6 SR ONO ES eg TN BO ta 2 ete
i of Qh How about’ any: ofthe employees ‘of the’ Department
8... <8, Children and Families? -
9 Ok ONO.
10... @ ‘The next Sentence in Paragraph 17, which goes
11 ‘over to Page 5, gays, "There are many, many other
12 aspects of this case that 1 will bring to light if my
13 appeal is accepted." What are those "many , many other
14 aspects"? | . 7
15 A tf don't know. —
16 Q ‘You don't know?
17 A (No audible answer.)
18 | THE REPORTER: "to?
19 9 (By Me, Brouillet) You have to answer out loud.
20 A I don't know t said, ;
ai Q Okay. Was it upsetting to you that the
22 Department of children and Families persistently failed
23 to afford you due process? |
24 Rn _ Pretty much, yes.
25 Q Was it upsetting to you that throughout the

 

 

 

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t Baei3,

 

 

1 process, the Department of Children and Families:
2 practical ty invaded your ‘hone? |

3 A Yes. |
4 2 Now, | LE you turn to Page 5, under the section

5 that (says, "The Defendant's Notice, # paragraph 1 18 cays,

6 "Consistent with its cavalier treatment of me and denial

7 of due process, the Defendant, " referring to the,

4

~8 Department of Children and Families, "allegedly sent me
a3 the determination in November 2006, again, allegedly by
10, First Class Mail, .-After’Gainping out in’ my -home for a
11 year, the most important piece of information in thig
12 whole deitoralizing and disappointing Saga was,

13 allegedly, delivered Firgt Class Mail, Was your

14 dealing with the Department of Children and Families

15 demoralizing to you? |

16 “OR Say -~ I'm sorry, this word I didn't understand.
17 | Q. Okay. In this complaint at Paragraph 18, the

18 sentence I'm drawing your attention to is, wnEtex .

19 camping out in my home for a year, the most. important
20 piece of information . An this, whole demoralizing and

2. disappointing saga was, "allegedly, delivered by First

24 Class Mail. How was this demoralizing to you?
23 A. t don't understand "demoralizing."
24 —— «Q Well, this is the complaint -- withdraw the

25 question.

 

 

 

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1 ... ., Turn to Page 6.
2 A. Okayin
3 - .Q. That's your signature, .sir?

4 _. A. .Yeah.

5 Q Okay... So. this igs what you wrote to the court,
46 and |so Tim asking what. you meant when you used that

7 term.

8 MS. GARDNER: Object to form. He's already —
39 testified that he had an attorney do this.
oe But you: can answer, if you understand it.

11 = Q (By Ms, Brouillet) Well, did you read this

12 complaint before you filed it with the court?
13 A Yes.
14, Q Okay. And so I'm asking you when you represented

15 to the court that this was a "demoralizing and

+ ww

16 disappointing saga," what did you mean?

 

  
 

j 4
17 ; A Tt wasn't right.
18 Q Was it upsetting to you?
190 A Sure, |
20 Q bid you tell Dr. about Lt? ;
21 | A No, that was Dr. . .
22  Q Did you tell Dr. ) about it?
23 A ves.
a4 Q What did you tell him about it?

25 A I told him about the gage.

 

 

 

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eon O7/12/2014

 

 

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JOHN DOE VS. UNIVERSITY OF CONNECTICUT

 

 

 

 

9 What did you tell him?

A T said r have to go court.

9 bid you tell him why?

A ves wid an ce ss 2 on te

Q What dia you tell Fim?

A 1 said’ they want to put me on registry for
Lifetime. a _ _

oO What glse aid you tell him about it?

AE don't remember all of the detail.
0 | When did -you-Lant see Dr:
"ORT hetlieve “it aw 2009. ©

9 thy aid you stop seeing Dr.

A Because ray insurance dossi't cover,

9 Does your insurancé cover Dr.

A Wo.

Q You're on ~~ you testified last | time you! re on
Social. s Security bigabi lity. Do you ‘have Hedicare?

A Yes,

0 And you a don't. _submit an

A Shey don?t accept that, 7 ae

9 het me finish, plesee, “no your knowledge, are
Dr 8 bills submitted to Medicare? |

A No, that 4 time At was 6 fron conn,

| | a bills

Q

To your knowledge, are Dr,
cate 4, 400 : toy re ot ote ©

 

submitted to Medicare?

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1. AR Probably, yes. But di dn't -- I don't think it

Ls Bue te ORE TY

2 goes through. |

 

: 3 Q How do you, (pay ‘Dr.

Peon my pocket, And aiso he help me.

  

. wie wate”

. § Qo zm BOELY, t missed the las te part.

« 6 A Some ~- I Pay him a little bit, but he! is helping

 

: ats Sogo

. 7 me because I don't have ao money.

 

"8 0 Who's helping you? Dr.

9 . A. Yea.

10. Q . Okay, 0 OHA
Ad A To get better. — '

12 9 Now, Dr. Levine provided us some records in

was ve

13 FESPOnse fo. our request after. -YOU., provided an

% : 7 . 1 hae vas 7

14. authorisation. You - remember signing authorization?
ak TB Bee

5 A “Yes, ma'am.
: : ete OR te, Sete pe

16 Q And his records indicate he began treatment of
17 you on June 6, 2006. Doeg that.date sound correct to

Poe at

18 you?
19 A rt must be correct, yes.

20 Q And so that would be after your first arrest for

‘ Pop ae

21 breach of. peace relating to Gay

 

22a A T believe before that, yes.
:, - te oF ied * con, : goth ket ioe mht, toy ee wen,
23 | 2 Well, iff you started treating on June 6, 2006
oo ot agp RU Ba

The wen

 

24 with Dr.

ey?

} would you agree that that was after you

woh we a Bs
et a “ staat sot

  

25. were arrested the first time on May 6, 2006?

ap

 

 

 

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AR 6 believe, yes. -:

Q And his: record indicates. that .you,; resumed: -:

   
 

treatment in=December,.6; 2007: -And..s9'did you have a
qap in treatment wath Dr.g

A I:don't:>remember,-maybe~ some: week... -~

 
  

°:Q.. -Weddhinwhen. you. saw Dr.i , how often. would.
you, see “hime,

A Um, every. week.

Q And so if he said that you stopped treatment for

a, period of months; do you ‘think that’ would be accurate
2, period
:

or inaccurate?

A Yes.
Q No. . .
Noe py TE TR Ot ee Sey gh OT wae ‘

A It was accurate, yes.
, . OP pos ne Bs

ORR A a ree

0 If he said you stopped for a period of months,
. yo? eo dtatae a hag vor te odes bos : :

you think that would be

r BN rota Le

accurate? |
Meg GE Sept i ae et Beta,

A Yes. .

H's records indicate that you

 

,

Q Okay. And Dr, @

Pow! To

terminated treatment on March 28, 2008. Do you think

that's accurate?
we Rh Wt a noe tae

A Nes, my -~ yeah.

indicate that he had

 

Q Now, Dr. &
five sesgions with you that were held between January

31st, 2008 and March 28, 2008, and he provides the

*

dates, Now, January 31, 2008, was that after you had

 

 

rote hae et he ., .
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Yoh ET Ae tee
Dasa: CRIMP

 

 
 

 

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pled guilty to the criminal charges relating to

Says

A say it again, | I'm sorry.

 
  
 

Q ganuazy “2 E21 withdrew the question.

 

5 pays that he had five sessions with

"EY ae

you! between January 31st, 2008 and ‘March 2th, 2008.

Me

That sanuary 3st date, is that after you pled guilty to

 

the oriminal charges : relating to.
KA z don't remember that.

9 ‘Okay. On. danuary“21;° 2008; were you on paid
administrative leave from UConn, not actually at work?
x te8. . - wie
Q And when were you dismissed from UConn's

employment? .
‘A Um, I,believe it was January 1éth, 2008.
Q Ta that the date you wera convicted of the —

criminal charges involving

 

A From UConn you asked me, from UConn?
Q Yes.

A Yes.
" ta Py ues de hat.

Q It wasn't March 9th, 2008 that you were dismissed
from UConn?

A It could be I miss with the time, the date,

, vs a

Q Going back to the complaint that you have before

ney

you, sir, at Page 5, uh, Paragraph 20, "In late May

 

 

 

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Oe “Cast, 3 do. -cv-01071-JGM ' ‘Document73-8: Filed 01/27/12 Page 8 of 67

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2007, my lawyer at the time forwarded me to a package of
documents that the Defendant had finally, in May 2007,
delivered ad my Lawyer after My rawyer® 8 > repeated

requests. ‘who is the lawyer + you're referring to in

that - paragraph?

. 7 Poti

A patrick Tomasiewicz. Patricks [sic] -- his name
" t Sg CO a et
ig Patrick Tomas: -- Tomasiewicz, I believe.
Q Are you “yeferring | ko Patrick tomasiewiez?

A Yes.

Q And so this isn't. the woman lawyer who was

helping you prepare this complaint?

A “You're talking about this one?
Q No, no. If you look at Pavagraph 20, okay,
that's what t am, focusing on. And it says, "In late May
2007, my lawyer at the time forwarded to me a package of
documents that the Defendant had finally, in May 2007,
dolivered, to my lawyer after my Lawyer's repeated |
requests." I just want to be clear which lawyer by name

we're talking about. And so in other words, who is the

lawyer that don't name, but you refer to in this

paragraph?

A I think it is bot A lawyer, Willimantic and

Hartford. Um, patrick -- and I forgot her name. Both
of them.

Q Okay. So the woman lawyer in Willimantic and

 

 

 

 

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Q And ien't it true that Dr.

13

Patrick. Tomagiewicz?

Re Yes, matam.* ..

Q  vAnd would Patrick Tomasiewicz be your criminal
defense: attorney?
:. A ..Yes, ma'am.

Q.- Okay. Now, when you were treated for the panic

andvanxiety attacks:in-the emergency room.in Windham in

,vune,, had you ever. been. treated. for panic or anxiety .
-attacks before?

OA Yes. Sa Sey ne

@ had atarted

 

treating you for those conditions, back to 1998?
A TI believe,
Q@ You believe so?

A Yes.

Q Okay. Mr. §

 

; L'm going to show you a
document marked Exhibit 23. And it says the case
wt Bete tye mt wo

caption at the top, "John Doe versus University of

4d

Connecticut." It says, "Plaintiff's Answers to
Defendant's First Set of Interrogatories and Request for

Production," Do you recognize that document, sir?

£ tsi.
n! was

A Yes.
Q Now, when we took a short break today, your
attorney provided me with some -- with a couple of pages

ef a letter from her to update those responses. Is that

 

 

 

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Li?
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a5

your: signature on the last page, which saye "No. 23,
Oath, of--Respondent"? -
- A. »¥es, matiam.. - th Ee

Q And were these responses to the interrogatories
and, production -requesta provided to the best of. your
knowledge wn
A .-Yes, ma'am, . a
Qo: under cath?
A Yes, ma'am. Thank you,
Q | Now, i'n going to show-you "a. document marked
Rxhibi¢ 24, which says at ‘the top, "Affidavit of Illegal
pigertminatory, Practice, | state oF Connecticut Commission
on Human Rights: and Opportunities, " and it hag the date
oeteber Sth, 2006, _and a case number. And itm going ask
you to Look at ‘ehat, girs oo, | : 7

; A (Witness complies. }

ry

Q And it's -- the Last page of that, which says,
"page 4 of," and it's 's blank, there is a signature there
with an "X," it says, "Complainant's signature." Do you

*,

see that, six?

Mie te BO as

A Yes, ma'am.

* . . eee = a we
rt rr ee ee

Q . Is that your signature ~~
A Yes. ;
hea RS ot adh agro

2. ~- under oath?

A Ys .

 

 

 

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some things blacked out, like your address we blacked

2 _Okay. When you! ve referred in your bestimony to

tae
tM

your complaint to the CHRO, or Commission on Human

nights, ig this the complaint you're referring to
against UConn?
A r believe so, yes.

Qo okay. Did anyone agsist you in preparing this?

ee

Q okay. There is --
OA Except the office for CHRO.
8. “Okay. ‘Atipdge' 4-"and-I-understand thare's been
out or ‘redacted ite ee
oN “Okay. : |

Q and we blacked out on page 3 the name of a
student. But at Page 3, at Paragraph 10 and Paragraph
11, there'e a couple of dates where there's a cross-out
and something is weitten in, and. then there's the a
initials, "N.0." ‘Whose handwriting is that?

h Mine. a

Q Okay. Now, I would like to go through this with
us rae Boose ae Bey Toya at. BSP om ty

you. On the first page under the affidavit it says, "My

   

name is 2" and your address," and, "The

xespondent is the State of Connecticut, UConn.” And if
you 9 to. the paragraph where At has check- off boxes, Lt

yt

says, "I believe the Respondent discriminated against me

 

 

 

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Sha gt as ay Sos, wo

he SEES ase: 09- -cv-01071- JGM Doctiméint 7% 3 Filed 01/27/12 Page 12 of 67

 

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See FE
Wee

 

when it: {check appropriate box and insert date of
oscurrence)." And itis. hot. checked, but it is. typed.in,
“suspended .me May: 8,.2008.ta.the.present,". Axe: you
pursuing, that) @ugpension that you received .-- withdraw
the. questions * os v.05 Tes
« Ign'tsit.true.on May: 8th: you.were placed on wpaid-

administcative leave?*..) 40-2. viv wad te edt 8
AL. Yes. |
Q° And isn't at true that you agreed to a three-week
suspension without pay as’ part of your: stipulated
agreement with the union? |

A Yes, mma! am, |

rr gt Tee hae a a

__@ Okay. ; Now, the, box -- the First box that's check

cays, "Reteliated against 3 me for opposing a

ded a SOE ad

discriminatory practice." Who retaliated against you

i

for opposing a discriminatory practice?

A

 

soe

Q Okay. And so is it accurate to say that when you

refer to "retaliation," you're referring-to the actions

 

A Yes, ma’am.
Q okay. Now, you've checked off the box, "harassed
ee dT OE,

me," and it's checked, "sexuall harassed me on or about
, at C C ¥
whe a yale weet . " oo to Sots y ota

2003 ta June 2006." And who were you referring to as

harassing you?

 

 

 

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A Two thousand.

 

Qs And. who are you referring to as “sexually
. oe ees Be

harassed 1 mel?

 

A Yes.

Mae

 

who are you vefserring to?
pe thst Se ate Mere dts bo. .

Q No,

   

Now, when you testified the last

was May 8th, 2006 when you were placed on

paid administrative. And so is that June 2006 date

accurate?
al

A May, no.

Q- “Okay. “Now, if you go to the next series of

check-off nowee, it says, “And I believe that," it says,
"my protected class basis," and you've checked off,

‘sex: male." Is that accurate?
wg

A Yes.
. , ne
ty,

Q Now, at Paragraph 4, if you turn to the next

gos

page, Page 2 --
9) 7 uh, it says, "I began working for the
respondent in 1998 as part-time special payroll
administrator." Now, you didn't start in 1998 as a
payroll administrator, did you? You were working at _

UConn dining services?

 

 

 

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Li?
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A Full-time, no. It was -- it was ten hours a
week, It believe, T work,

Q Well, isn't it true that in 1998 you were hired
as . to work -- ne oe
9 a at the uconn oe let me finish, please ~~ UConn
dining services and you atayed there until, at least on
paper, until june of +99?

A I believe, yes.

me) Okay. And it says in that paragraph, "I became a

“gull- time Program aide and £rom 2003 bo 2005. t was

employed as a business supervisor. In November 2005,
Respondent demoted me back ta program aide, the position
in which T am presently employed." But isn't it true
that you were never promoted to business supervisor,
that you were only temporary service ina higher class?
A In the middle of 2003, 1 was a +- a business
supervisor until, “uh, 2005. | |
| 9 My question is this, sir, you were -- isn't it —

true you. were -- withdraw the question,

When | were you Promoted to Phe permanent position

Ty

of business supervisor?
A Yes.
Q No. When were you promoted to the permanent

position of business supervisor?

 

 

 

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1 A he middle’ of: 2003.
2 °-Q -)And'it's your understanding that you were

3 permanently promoted to’ the position of business’

4 supérvisor-iti 2003?--

5 A Yes,

6. Q Okay. |

7 2 +. «+ -(PHereupon, the reporter marked Letter from

Bo aces, Tony Velez, 3/31/03 for identification as

Qo cote Exhibit No. 26.)

10, Qs (By Ms, Brouillet):: Sir, I’m going to’ show you a

11 “document that I've marked as Exhibit 26, And it says,

12 "University of Connecticut, Depaxtment of Human

a

 

13 Resources. it's be from Tony Valez, and
14 ve atan moh Bist, 2003. And it says, "Temporary

15 salary Increase Approval." And it gays, "FSI, Title:

16 UCP V," roman numeral five, "Business Services

17 Supervisor." So, sir, now that you've looked at that

18 document, is it still your testimony that you were

oT.
4

sot

193 permanently promoted to be a business supervisor in

 

20 20037 -

22 9 And so, when you received -- Withdraw the

23 question. : | |

24 i, _ Do you recall receiving a copy of this document,

25 sir?

 

 

 

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A

Q

that meant?

A

Q

1 mete

gays that instead of being temporary salary increase, it

Was

A

&

Yes, ma'am.

And when it said "temporary," what did you think

A ghort time.

Do you have any document in your pogsession that

“4a

permanent salary increase in 2003?

No.

Q .: Okay.

A ‘hank you, 6 0

Q

were
J

A

fen't it true, sir, that at all times that you

4

at -- a permanent employer at International
ae wap ys yt Pateh dave late 2 roto wo Pe

t

Services, your actual title was program aide?

Yes, ma'am.
Okay. Wow, if -- looking back to Exhibit 24,
wD yea RNG TM a ee be

+ ¢

that complaint to the Commission on Human Rights and
Lt na

Opportunities, at Paragraph 5, it says, "Beginning in

tt

2002 and continuing Respondent's" -~-

A

®

Excuse me.

Oh, I'm sorry. Page 2, six.

The front page?

ay
_ Page 2, six.
Page 2, okay. .
Paragraph 5.
Okay.

 

 

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10,

fa e,
nf

nw”

Q Do.you see where I'm reading?

A Okay... wots bebo. a

Q "Beginning ,in, 2002 and continuing Respondent's
Executive .Pirector of International Services and |

Programs. (DISP) subjected me to sexual

 

harassment."..Now, is that accurate?

A two .thousand.

‘A No.

Okay, Was your metiory better in 2006 than it ia

 

20ii? |

ne
Q Then if the actual date was 2000, why did you

submit this under oath to the CHRO with a date of 2002?
At wasn't looking. for details. r gave the |

whole -- a general information. |

Q Now, that says, "I engaged in both anal and oral

 

sex with § for two and a half years." And so what
period of time was that two and a half years? Was it

beginning of 2

02°?

A -The end of 2002,

Q It began the end of 206022
A Yes.

Q Okay. Paragraph 6, "I have known § since

‘eect

  

Fb yg

1986 when entered the United States for treatment for

i

 

 

 

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ia
aaa

injuries | sustained in _the Afghan War against the then

Society Union.” Ts that when you entered the united

States?
A Yes.

redhat OW fete te aS

 

9 okey. Paragraph 7, "My friendship with

continued for the next fifteen years and . x did, Volunteer

work fox” the DISP until (being | nixed as a program aide in

2n01.#
A Yes.

lasted

 

0 And so your friendship with
for what period of time?
ee re MTS woe TET te

A Um, until May 2008?

pee tke! na

Q. Okay. And Paragraph 9, which is on Page 3, sir,

weit

 

it says, "In 2003, Respondent through y promoted

to Business Sexvice Supervisor." Would this be khe
> ess vy i
temporary service in a higher class we talked about?
A ‘Yes, ma! am. | | |
9 and ib says, "This was to be a temporary

position, permanent after two years,"

A ves »

  

ue dae

QQ. Paragraph i, in December 2004, it says
"“Herabla william. Would that be Herbertia Williams?

A Yes,

 

“as

 
 
 

g “Aching, DASP Pirector white. = a8 overseas

Toe doe ate
¥ ety

ordered an audit. of my position ehrough Respondent's

rede Dei ay Te We

 

 

 

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Human Resources department: As 4° result of the audit,
William through HR reclassified ny position to program
aide, my-previous positions"

Tonle veag, . ‘ 7 . Mere gat sme Efe ma we HY bet 3

Q And-so you think it was Herbertia Williams who

was’ responsible’ fot you’ being” a programiaidé? *

 

eA 8ST donte! know betieén; uh, and her,

“ioe Qn Ow do--you ‘know what --went-on between Herbertia

 

Williams and §
A 32 think they were keep, ‘uh, e-mailing back and
‘forth. _
‘0 ‘Okay. _ How do you know though? L'm asking the
source of your knowledge. | | |
a I, uh -- E don't know exactly.

Q Okay. Paragraph 13, '§

 

has threatened to

kill me on previous occasions." When did you report

“7

a

these threats to the police?

A Um, two thousand, um -- May 2008, I believe. I'm

-- I'm sorry, I didn't report. it
ere

 

sorry 2006, X didn't

to the police.

 

QQ Okay. Paragraph 14, "On May 5th, 2006

falsely accused me of threatening him with a gun and a

f

Ee

knife in retaliation for my continued refusal to submit

accusation led to my

6A

to his sexual advances. This

arrest with Respondent's Police Department on May 5,

ethers “leas.

 

 

 

 

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2006 and a disciplinary hearing resulting in my
guispension-on May 8,-2006. I ‘presently remain‘on

suspension! "° Now, you weren't suspended on May 8, 2006,

‘weren't: you? Weréen't.you-on paid leave? nS

: A: °) They ‘suépended mé for: three weeks.

Q ‘On’ May 8th, 2006; jrere ‘you placed on paid

administrative’ leave’ or weré you suspended? -
‘As Suspended.’ "*°

Q And so it's your testimony you were not receiving

payment from the University of Connecticut after May

8th, 20067

A of think for three weeks, _ they suspended, then they

‘hae

pay after. a believe,

uw

@ tf the stipulated agreement that you signed in

Septenber 2006 provided you that you had been on paid

‘leave since May 8th, 2006 and then were -- agreed toa

three-week suspension, do you think it would be accurate
or inaccurate? :
A I think it's accurate, —
| “(Thereupon, the reporter marked —
“hetter, 5/8/06 for identification as

Exhibit No. 27.)

 
 

Q (By Ms. Brouillet) Mr. A I want to show you

a document “- a netcar addressed to you that we may have

talked about previously marked | BB Exhibit 27. ‘Now, do

 

 

 

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1 you recall receiving this" letter?
2 A Yes, ma'am. ne
3 Q Okay. Now, “that you have ‘seen this letter, do
4 you know whether you “were. suspended on May 8, 2006 or
“5 whether) you were ‘placed’ on ‘paid administrative léave™
6 pending’ the outcome of an investigation? ™
7 ‘A yes”
£8 sacs eQueaeAnd what was it? vad Le paid leave or was it |
9 suspension?
10. A I don't remember paid leave or suspension.
11 | Q Okay.
12 A Exact 1 Ly, t don't. Thank you.
13 Q Now, Paragraph 15 of your CHRO complaint, —
14 returning to that, it gays, "IT do not own a gun and did
15 not threat Respondent, " ‘ien't it true that on May 6,
16 2006, you were accused of threatening Mr. and
7 others with a knife? | | a
18 . A Yes, that's he reported, i didn't -~ Io-- on the
19 records, 1 don't own gun or a knife.
20 Q You don't ¢ own any knives?
23 A - Knife in the S iltchen, y yes. But mot for that.
aa Q Did you ever ~- Withdraw the question.
23 You eostified previously that you had filed a
24 complaint against, UConn in 1999, I beliove, March of
1999, for your treatment « ‘at dining services, ‘end then

 

 

 

 

 
 
 
 

 

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. f£urther complaints to the, Commission on Human Rights and

the Commission on Human Right's --—
rang ae vale 7s

five-minute break.

this October 5, 2006 complaint to the Conmission on

uma, Rights and Opportunities. Have you filed any

Opportunities?.
A On dining services? |.
Q . Against UConn at all or anyone else? .
“|AL, believe, once T did with dining service, 7.
believe.

Q Okay. And go you've only filed two complaints to

_A Yes. |
Rept Puape Oo 2 trae

Q -- and Opportunities? Okay.
pe Ue tty ade ee 2 Et as me _ ar
MS, BROUILLET: Okay. I need to take a

SHE VIDEOGRAPHER: Off the record, 10:55.
; “(tThereupon, a short break was taken at 10:55
aun nestimony continues at 11:06 a.m.)
(Thereupon, the reporter marked hetter Erom
_ Attorney Gardner, 7/9/14 for identification as
Bxhibit No. 28 during the break.) 7
oan VIDEOGRAPHER: Beginning of Tape No. 2.
on the record, | Ad: O68. we
2 (By Me. prowillet) | ir. omar, while we were off

the record, r had the reporter mark this as Exhibit 28,

which i received today, uh, from Attorney Gardner, And

 

 

 

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on 07/12/2041 Page 378 |

I think you heard ‘that ‘exchange. “hat would be a

ae tite

"supplemental response to the ‘nterrogatories that we had

Tyee et

marked -- interrogatory responses ‘that we had “narked

earlier today ag "wxhibit 23.
A Yes.
wee Ef OT Nek tel se it oR ot,
Q .You don't have anything in addition to those

records --

ts
fe apt aphid

ES Fe eNO
Vie US Ry oe

Q -- ox what's listed there? Okay. I have no
further questions ‘about that’ document, aig.
A Thank you,
@ What do you kmoy about the scheduled deposition _
of your!probation officer, Catherine McKeon?
A “tim sorry, say again. |
Q what do you know about the scheduled deposition

of your probation officer, Catherine McKeon?

yet

A XY don't know.
MS. GARDNER: I'm going to object because
that may require, uh, a response of privileged

information.

Q (By Ms. Brouillet) Okay. I'm not asking you any

discussions that you might have had with your attorney.
Ware you aware that Ms. McKeon's deposition was

scheduled for tomorrow?

A I think so.

1 0 “ Pig a, aoe Lr
5 - ’ oh ata woe a

 

 

 

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Eee ald Wo -cv-01071- IGM: Document:73-8: Filed-01/27/12 Page 24 of 67

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the quegtion.

13.

Q Okay.

Poa

what co

MeKeon's ‘deposi

A No clue.

0 You have no clue?

A No.

Q So doas

deposition tes

Q , Ph ra ‘que

if any, do you have about adult probation officer's

Catherine McKeon's deposition being taken in this

matter, and yo

ets fy
SD Ae

expound upon your response, because I don't understand

me

what no clue"
A So LI do
Pt, a oo

the probation

as

that's alle

Spr
ae Ae Aen

2 And how would your -- how would taking Ms.

mes ‘ 48

McKeon 's depos!

| eat
- .

wos ye.

know, but it c

om

Oo” What could be?

A To violate my probation. —

A The questibon, lectiscl am sorry.
_ Phe y

vfe ey

A E don't know what -- the whole thing, I don't

NY Teal

Do you have any concerns about -- Withdraw

meerna, if any. do you have about Ms.

ition being taken in this case?

wT toast

that mean you have no concerns about her

timony being taken?

stion I had asked you is, what concerns,
Je Ma Saplte gd ha” Pata to Tt nw . 7

. - lat
. ou i + wer

u said, "No clue." And so I want you to

. i
Soe Ta Ps oe Mee

means.

yest Hl wel
. soe eS

m't think it -- I don't want to violate
go ~~ because I am in the probation,

eto ant og
. i

ewe Fo ey nh
Va ty mr ' ate a

ition violate Your, probation?

poate

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ould be.

Pe er . Ho roy yk

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“Qos Can you. explain to me how that could be?

A tm? L'Bould ‘be: kiéked out from thé progfam for
the*treatinént “I have: -“Because’+-!T cannot’be in the
treatment. “Phat's* why the court’ give order, I Have to
Bein the treatment:

Q How‘ could“Ms +? McKeon testifying in this lawsuit

cause you to violate your’ probation?

wha is g PAL ri dy dom't know exactly. I'm sorry.

,

Q ° And so what concerns do you have -- because you

told me it could-be a violation of probation, and so can

ma)

you explain to me what you mean?

A That's how I say that. In the group, I could be
violated, my group, for -~- which is Joe, I go to that.

Then I have to wait a long time to go back to the group,

0 I'm unclear how Ms. McKeon testifying would cause
you to violate your probation. Etm unclear what you're
saying.

A i'm -- I'm saying that it could violate my
Q _ What is nit," when you say it could?

A «No. £ don't have the whole information. LT don't

we ‘a Coe

know.
Q Okay. Is your concern -- what concerns do you
have about Ms. McKeon seeing your deposition testimony?

A I did explain it. Again, I could violate my

 

 

 

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probation for treatment, that's all.
Q No, what T!m-asking..is, what. concerns do you
have --.and I want to, make sure. that you regpond to this
question, and go let me just ask it again. I agked you
a different question, 1 gaid: what concerns do-you have
about.Ms,.McKeon -seeing your deposition. testimony in |.
thig cage? .-
A I don't know..
Q Okay.
(The#eupon, ‘Eke reporter marked Motion for
Protective Order for identification ag
Exhibit No. 29.)

Q (By Ms. Brouillet) Mr. have you seen that

 

document before? itis a motion for a protective order
dated guly 9th, 2011, filed in this case -~

A ves, ma'am.

9 -- by Attorney Gardner?

A ves. |

Q Did you see it before July 9th, 2011?

A Yes, we talk about it.

Q 2 don't want to ask you any ~- anything -- to
reveal anything about any discussions that you have had
with Attorney Gardner, but I am going to ask you some

; os : eae. SES ro 2a
questions. And it says, “Pursuant to," and it lists the

ecdey

federal rule of civil procedure, "26C, plaintiff,"

 

 

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Pegs
on 07/42/2011

 

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“meaning your "moves for a protective erder that the

deposition of Katherine “McKeon, Adult Probation Officer,
not be had, or, in the alternative, that it be limited
in scope 2 30 as not to pose a a threat to plaintife auch
that disclosure of ‘the facts: ‘OE his eivil case, which
ave under # seal, would subject him to criminal
prosecution for a violation ¢ of his probation. ‘Do you
see ‘that, air? } | | |

Rh = 6Yes.

Q 80 are you céncernéd that if Ma. McKeon reads
your deposition testimony, she might think you violated
your probation?

aA Yes, ma'am,

Q Okay. “Have ‘you had any discussion with Ms.
McKeon since you gave that deposition testimony about
your Lawsuit? | | |

A No. rt was in the paper. i think she read it in
the paper. a | |

Q About your lawsuit?

A Awhile ago, yeah. It was in the paper. I'm not

aE eo
sae to

Q But you haven't discussed your lawsuit with her
since you gave your deposition?

A No.

Q Okay.

 

 

 

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i x <t yust mention to her I have appointment with you
"3 guys to goi'

3 “<Q Okay. What fears do you have about being sent to
“4 prison? ~

5 "CA ‘Bear:

6 "Nig GARDNER: Object to the form.

“7 7 “+ Ee WTEPNESS: - think anyone can have a
‘Bs fear. :yT) have three children. “I have a wife and, uth,

io plus disabled. And, uh, it's not moral thing to go to
40 | jail for no reason. “ And’? @on't.-- I think Lf something
UL ‘a exime, 1 did, so the jugtice should be, uh -> you:

12 know, the justice do it. But otherwise, no, “Because I
13 always ight for Justice. , That's why” T fought: -- I got
14 shot 38 times in my body for “freedom for justice. |
15 9 (By Ms. Brouillet}) But you did plead guilty on
16. January 18th, 2008, under the Alford Doctrine to

when

 

17 impairing the morals of a minor,
18 she was nine years old. So did those charges cause you
19 to fear being sent to prison?

an Tb sais

20 A Yes.

Oe ne wo
al 2 _ And when were you arrested on those charges?
23 9 When. hen were you first arrested?
“24 . A , UR May 2006, | -
25 | Q And as you aat. «here coday, do you have any fears

 

 

 

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1 about going -- being sent to prison?

2 ” A - I hope not.

3 Q No, I am asking do you have any? Do you have any
4 fears ag you'sit here today about being sent to prison?
5 A No.

6 9 when you were charged: in’ 2009 with ‘violating your
7 probation -. 7
3 x Yes we a dg bP gh ot ate % ae. oo Magee te

390 Q.. -- which had come from your guilty plea to the

LQ. eriminal charges’ relatirig‘to impairing the morals of a
et om

VL minor, did you foar being sent to prison?

es
1F

12 A Yes.

13 Q Was that distressing to you?- -

14 AL Pretty. much, yes. | .
15 9 Was there a time when your son was called names

16 at’ school because you were publically identified ag a

‘ : i
LT sex offender?
18 A No.
1a Q So if that statement appears in the records, uh,
20 received from b the adult, probation office and _ from che

2 Center for Treatment of problem Sexual Behaviors, that

1 . wey " . ave

22a would be inaccurate?

23 A Say it again, Ina'tam. I'm sorry. E didn't get.
a4 Q Let me have the reporter read the question back.
25 A Go ahead.

 

 

 

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4 - (Thereupon, the gnestion was read: back from
2 the. court, reporter, Testamony continues ag .fallowg:}

3 “MS... GARDNER: - Did. you want her.to go back, to
4 the previous- question?
_5 THE WITNESS: .. Yeah.

6 Q (By Ma.-Broudllet).. All xight....You .want ,to. go.

7 back to the question before that?

8. A. .Please.

+9 9. okay, Was there a time -- do you recall a time
LO, when. your son Wad ‘Walled:iames at ‘school. because you
eee
oa yee publically, identified as a sex ¢ offender? ,
12 A No ; - - | ,

“4 OEM RE A Pt eae a eet le ‘
13. Q You don' ae Withdraw t the question.
L4 _ Da you. recall belling you counselor at the Center
i5 in March 26, 2010, that your gon was being called names
is at school because you, were a registered | ex offender?
17 A That could 3 be, 2 I don't remember. sorry. |
18 0 Okay. _ Do you -~ what do you recall telling your
19 counselor at the Center on March 26, 2010, regarding you
20 being discriminated against because you, are a sex

i a SS
21 offender?

Ney GL. Plea ! *

ag A Yes.
23 Q Wo. t want you to listen to the question. I

eo o ea REN Pewee Gk EO
24 agked you, what do you recall telling your counselor at
25 tne center in Magch -- on March 26th, 2010, about you

 

 

 

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L being: discriminated against because you! re a sex

oe + : : ce yap he tar?

2. offender?

fy woo . wet
wad won F yt oe 4 Woe

3 - A Because T cannot 4 do a ‘lot of things. “They don't
4 allow ne.
5 7 And BO you recall telling him that you were being

Soy pe tee IN,

7 _ I believe, yes.

8 Tg that iw petting to you, ‘this discrimination?
9 : A Of course.

10 Q Is being on probation ‘for the State of

t1 Connecticut for ten years starting January 18, 2008,

12 stressful to you?

13 A Yes, ma'am.

14 Q tg that amotionally distressing to you?

is A Yes.

16 QQ You testified previously that the judge in your
17 criminal case, uh, for impairing the morals of a minor

i8 ordered that you not have contact with children other
19. than your own. Since you have three young children, is

20 it hard for you that they cannot bring home friends to

21 play? .-
22 A Very much.
23 Q What did you tell your counselor at the Treatment

24 of Problem Sexual Behaviors in January of 2009 regarding

25 a problem with you working out at a health club because

 

 

 

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guy?

there was a day Gare center there?

A | Um, I was taking ny kids ‘there. They tell me —

_ don't go there. “That's all.

Q Who told you?

A probation.

Q Well, “kent it it true that you reported La your
probation officer and to your counseling that je you were
going there and 3 you had a a problem there? | -

A In the locker room with one guy.

Q And what happened’ in the locker room with one
foe . J

A I think my, um, my son was calling me and I -- I
was leaving. was talking’ on the phone. He was ;
shouting at me. And then I also -- I went to front desk
and 1 report it. And they told me -- it was December,
thristmastime, I believe. — And they told me the guy has
a lot of desue with others; that's all. |
2 Who was shouting, your son or the guy?

A The guy was in the locker.
Q What vas he we
JA Older guy.
9 What was he shouting at you? — .

A Because I was talking on the phone with my son,
Per ee eo AE

Q It waan't in regard to you being a sex offender?

A No.

 

 

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Q . And what's.-tha name of the health club?
A Uh, Mansfield Center.

Q Mansfield Center Health Club?

A Yes,

Q And-you live:in Willimantic, don't you?
A Yes. | re oes

Q fs this the health club that's located on town

-hall.in Mansfield?

A. Yes.
0 And have you been ‘barred from that health club?

A I'm sorry?

Q He

if

A Bar?

ave you been barred erom that health club?

9 Barred. Are you prevented from going to the
health club?

A Yes, because, yeah, my kids. I went there for
two years. . |

9 You went to that health club for two years?

A 1 believe, yeah. Before -- before the incident.
t have a membership before also. —

Q | Before the January 15, 2009 incident?

A Yes.

| us. GARDNER: What's the January i5th, 2009

incident?

MS. BROUILLET: What he just described with

 

 

 

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2 ; - 1s. GARDNER: (Oh, hy okay. Okay.
3 Q (By Ms. Brouillet) And did you: ale 20 tell your

4 counselor that on February 26, 2009, you were having

5 problene working out at a gym due to a day « care center?
Ge That it would Y sdolate. your probation? So |

7 | A 1 don't remember , —

wae ro

8 Q TF it's in the records of the Center for
9.  Problaw +- for Treatment of Problem Sexual Behaviors,

iQ. would that be acéurate!or inaccurate?
1L | A It should be accurate, yes.
12: Q Do you recall ~~ Withdraw that question.

13.+ . Was it upsetting to you when you had to explain

14°. to your son you ean't take him to Chuck E. Cheese? _
15 A Yes. |

me Be ey, Be | 4
16 _ Q And what did you tell your gon about that?

17 A ‘My gon -- my older son knows all. Because, uh,

 

18 he used to cali uncle, so’ when I got arrested, he

19 KnOWS .—

Sua

20 9 What does he know? oe

21 A i'm sorry?
22 Q What. does he know?
23 A iim SOrry | i.

24 Q You | Bad my older son knows all, and so I'm

2

25 asking you what does your son know?

 

 

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A. Um, know I got arrested. It was very hard for
him, emotionally. “ttle getting, you know, better now.

Q How odd: is your son?

A Ten. J... - OR at,

Q And so, you. were arrested in 2006?

A Yess fo) eat bar sian

Q. So. did you tell your -+-swhat did you tell your

_ gon when. he was five years old when you were arrested?

A t's hacd to tell your son five years old

everything. 8 he's: gatting older ‘and he ‘understands a
we:

‘Little bit.

Q I asked you what you told him then. You said
Bro ake RETR De

wheal

your son knew everything. when you were arrested, you
told him, and I am asking what you told him.

A Okay. | The question is before that you asked me
about Chuck B. Cheese, that's why I tell him I cannot
go. rtm on probation. and 5O this ig the question, the
same thing. I tell him 1 cannot do things with him,
certain things ._ a

(9 pid you tel} your, counselor ~~ Withdraw the |
question, . Pode, Po. , Duh,

What did you tell your counselor on February 26,

4

Mea

2010, about your concerns that your family in

Afghanistan was being denied visas because you are a sex

. tu, *

offender?

 

 

 

 

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ai

 

9.

A Yeah, they denied it because of that, yes,

Q hey | aeniea your Family fot coming to the (United

States?

| A ves.
Q Was that - upsetting: to ° you?
A sure, uo a |

Poca De ea oT Bead

Q “What did > you tell your ‘counselor at the Center
around May 1, 2010, about your wife being arrested by

thé Willimantic Police Department for an incident in the

_ Playground? t
Hae.
A No, my wife nevex got arrested.

oy

Q No, listen to the question that I asked, sir.

a

A Yes.”
Q What did you tell your counselor at the Center
round May 11, 2010, about your wife being arrested by

the Willimantic Police Department for an incident at a

th

playg FOURT?

AU f _ think my Bon was Playing. The other boy throw
the dust on pis eyes. “and that's why she -- I think she
Was, whe | the mother of -- the father of the boy was

arguing with my wife so... and then the police came they
rn may ep Te Bt pele TD

said they wanted to arrest both of them. And then they
did.

Q Was | that stressful to yout ;

ei Tie

A | zt think i is very “- ( sure, because £ gouldn't go
ey rt . i rR wae Tags oy

 

 

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ed eye Sy Then te.
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ASG

 

 

“1 to-playground to«solve the problem.of my son, My:son.. -

2 has severe asthma. —. a

3. roe) as) i/EHE REPORTER: . He has-severe what?

‘4 soe fay a HEHE .WITNESS:. ¢Eazema:. [sic]. re OT RR

-5 2 THE REPORTER: Eczema?

“6 L ‘a: ‘HE WITNESS: Yeah. .-

“7 " Q ABy:.Ms Broudilet} -What:did you:tell yours).
8... counselor at the Center around duly 20, 2010, about a
9s verbal’ confrontation that you had with a neighbor?
10, A Which. one?’ Say it-again, please.

i Q — imnat did you tell your counselor around July
12: 20th, 2010, about a verbal confrontation you had with a
13 neighbor? | |

14 A Yes, x say something.

45 Q What aia you. say? |

16 JA I think he wag, uh 7 he was drunk or something.
17 He yelled at my son. My son. went to his, uh, hig yard.
18 He was shouting. And then I told my gon, Don't go

eh

13 there. And I told him, Don’t shout at my kids.

t

20 Q Can you identify that neighbor?

     

21 A It's next to me, )-- his name is @

22 believe, —
23 Q Ig that his first or his last name?

24 A First name.

25 Q What's his last name?

 

 

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25

-A oT don't know his last name.
and which Gide ie he on? Is he closer to
eee Street in Willimantic?
A He's next to my house. | _—_ -
yg which Bide Ehough, sir?
A On the left, oe
Q okay. on ‘the Jeft as you're facing your house?
Closer co Main strece or closer --
A Facing my house.
Q Hold onw': -: *
A Facing my house on the right, sorry.

Q Okay. And so closer to Main Street, Willimantic

A No, no, It's far ‘away from Main Street. My
< boa Se ote er

house is not on Main Street,

44

9 No, no. 1 What I'm asking -- I understand that,
gir. I'm asking the direction. You're on Mansfield
Avenue. Correct? |

A ves.

0 and 0 is it -- is it closer to the hospital than
you are? “than your house?

A Yes.
, OL: re
Q Okay. Now, the Center records indicate that you
had an incident at Wal-Mart in 2010 with security that
. . . i . “\° daege Sale ~aot Ss

made you angry. What was that about?

 

 

 

 

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A T don't remember that.
Q Do you remember reporting that?
A Yes.

Q What was the reason that you were examined by

 

pat Haster Seals,

 

that resulted in a January 2006 report?

A Yes.

nn soe

Q «My question, sir, was, what was the reagon that

 

you were examined by Dr,
A «I think it was, uh} the, uim, BRS was sending me.
Q «Would that be the Bureau of Rehabilitation
Services? |
A Yes, because I was in the training. They train

me computer. And also, um, they gend me there, Gag

 

Cotte Sot Fe ote maatp a seg
er Show as RET Trt ‘pea

Q At that time, sir, weren't you working fully

employed at UConn as a program aide?
A No.
0 _ in January of 20062 —
A Yes, :

Tey

Q But it's your belief the Bureau of Rehabilitation

Services sent you there for that exam?

A Yeah, I think tT -- i believe was, uh -- I was

 
 

trying to get different job or something.

re)

_Q Was that related to your social security

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disability. application? -_

A

Q Okay. - Do you recall meeting-with Dr. for
that January.2006 report?-.

_A Could be,’ yes...

-Q. Do you recall.what you’said to Dr, about

 

 

“Which town? Mansfield?.

Okay.

a tae, vor

-Um, would you tell me the address? Where is

 

“I'm not going to answer your questions, sir.

-I nevar own gun.

No.

 

 

i don't know.
pa Be aoa OM Es
It could be. I'm not gure, um, which town.

Since 1998, have you threatened anyone with a

I'm gorry?

ea

Since 1999, have you threatened anyone with a

 

Have you threatened anyone with a knife?

Wo.

t rary '

What threats, if any, did you communicate to &

 

on May Sth, 2006?

 

 

 

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_ with,

 
 

there, youvknow;-was:halking, and was -- one of the
students.++cit. wasn't.a-student,. was, uh, one guy, a

visitor. from Egypt, his name was

‘um, you know, I threatened

over.

Bb edt m
with him, sorry. was with him. And the guy
was ; four of them Was...
Q And aia you ' threaten anyone at Friendly’ s that
‘ TRE) Mea 8
night? . —
 g Did you | use profanity?
ee OR we Sea patia we
Q pid. you offer to Eight, someone that night?
A ros yes. | Wo | the guy Was, uh -~- his name was

they

with

Q

cruiser at Ehe. time of your arrese?

 
  

t,, that's why. the police pulled me. over. They. said,

knife. Um, I think after'five minutes, they pull me

pert

Um;.2£ was in, uh, at Friendly’s,-eating there

um, a group of students, and, uh, when I left from

 

{phoneti¢c),.and he was ‘arguing with me BO ea,

And then after that, then I

 

with a gun and

‘they searched my car. They, searched me and then

   

arrested me. And ne

the police. And I didn't have any gun, any knife.
eA yodt ee . rn

a was there also, came

 

you're naying that @

was in the police

Yes. and another Lady was, uh, um, with her --

  

 

 

 

 

 

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. re eee.

 
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Ee was wrestler and wa joke. I said, I can

 

(2 wrestle: with you. that's -- we joke, but not: threaten.
3 -.°Q.° Did you have a private attorney represent you in
“4 regard to those criminal charges that --

“5 R Yes. |

6 Q@ =. that you received on May --

hoe tee

7 A Yes..-"-

8 O “Let me'just finish That-you réceived*on*May” *
9 6th, 2006?
LO. fy Ae Nes, (8 RRM E ENR oT

11. _cyiminal attorney?

“et “haat es ‘ae gt

  

12 ‘AR His name is Brian. Brian Walsh? I'm not sure

. : ft wong : : : Boa at
“4 ’ ae toe woe . bts . at . a

13 exactiy last name, sorry.

14 — Q Tt waen't John O'Brien?
15 A John O'Brien, sorry.
16 Qo And who was the private attorney who represented

17 you in regard to the charges of violation of your
18 probation in 2009?
‘ Sg tag op. Vt

19

“4

His name ia Harris.

2 > 3}

20 Would it be Harry Arters?

vabit oo Vyas ot ta tad

21°

wp

Yes,

22 Q Okay. So just to be clear, you don't recall the

cout te es - byes . : “yet

23 name of Fhe woman attorney in Willimantic, but you have
Boe

24 been 1 represented by. Attorney Harry Arters, Attorney

SAL

25 patrick ‘omasiewles --

 

 

 

 

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pc gg og .
Pos tpt Ay . Aya

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Mon 07/12/2011

 

ik ee SY I
a) Q Tua not ‘counting Attorney Gardner, who's on this
3 case, obviously, and that female attorney.

“4 A Yas.

‘5 9g “Okay. What ‘chronic health conditions do you © *

 

 

Pe -' ee
6 have?
9 gt ‘have a } and §

 
 

3 sO Q And you had those conditions before you were

10 > hired at International Services? -

iL A Yes, ma'am.

12 Q And weren't you also diagnosed with :

 

13 I think we covered this last time.

14 A Yes, could be.

15 . Q “Okay. in. 2010, what piang did you have for
156 opening a restaurant in your wife's name?

17 A I'm sorry?
. . od “

18 Q In 2010, what plans did. you have for opening a
19 restaurant in your wife's name?
20 A She wants to open restroom -- I mean, restaurant,

ai And ghe was planning to buy it, but the probation didn't

22 allow me. They said I cannot own -- own the, restaurant.

23 Q Is that why you were planning to put it in your
FO base rr Sa,

24 wife's name?

25 A No. She wants to buy it, and so I was going to

 

 

 

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Gase,3:0¢
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24a

help her.

Q And so if the records from the Center for
Treatment of Problem Sexual Behaviors gay that you were
going to open the restaurant but put it in your wife's

a“

name, that would be inaccurate?
A I think we were planning to do it together, and

they told me -- and I told them ~- you know, my wife

told me she wants to own that restaurant. I said, okay,

and so I have to help her. But that's why I talk about

_it, and then probation told-me I’ eannot. do it.

ot Ue
het ohaé

Q ‘What do you recall about a physical fight at the
mosque in 2005 where the police were called?
A ft don't know. I don't remember that.

Q When you were working at International Services

A Mmm.
Q o-- in 2005, did they provide you with a Dell
Sobek la te toe x ae
Omniflex GL desktop laptop computer?
A "mn the office, yes.
Q Did they give that to you in February of 2005?
A Uh, the Laptop, yes, in the office. Using all in
the office. | | | |
| Q Wasn't that for you to be able to work from home?
A No. |

Q When did you return that laptop to UConn?

 

 

 

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took that one. He was

 

A baptop t think in --
traveling with that. |

9 you don't , recalls! gning that you returned a
Taptop — in May 2006, after you Were placed on paid
administrative leave?

A rf thatta the office ‘e laptop, yes.

Q No, this is -- rim _balking about a laptop that

was assigned to you. That's why it's “very specific

‘about the laptop, the type.

A Yes.

0 ‘Do you recall a Laptop, agsigned to you?

1 ves.” ; . Le.

Q and do you recall returning it in May 2006?

. vee. ‘ :

Q. And who requested the return of that Laptop?

aA uh, the day -- May 2006, um, that's the day they
ask me to give all of those things.

Q I'm asking you who requested the return of the

laptop? —

 

AU

0 fsntt it true that it was Boris Brava-Ureta who
instructed you to return the laptop?

A Yeah, he send letter and was communicating with
Mark. He we | | | |

Q Boris didn't tell you that in person?

 

 

 

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sot Haye

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pon 07/42/2044

 

got the

 

1  . A. He came with the letter. And then
a key, ny. of ficeskey;cmy: password, and the computer, and a
3 camera, everything,
4 _.@:: And when you..returned that.laptop to UConn, did
5 you.-- what did. yqu tell them about the. hard. drive?
1.6 OA The hard drive wag different. That wasn't from
wt 7 Laptop.- That-was for, um,. lounge. I set up all of the
g computers, and then I agked Borie -- |
1 9 7 Q. “No, I'm just asking you about the hard drive from

210 the laptep. And'so let mé ask you the question again,

#11 when you returned the laptop to UConn, what did you tell

i12 them about the hard drive?

“ . eye . ; ‘ i ,
“13 A qT didn't say anything.
. a t Be “ , wo y . Leen,

14 Q Do you recall being questioned about why your
“ Ry at at EE tS Te

LS laptop had its hard drive removed?
16 A No, that's desktop, not laptop.
I eho ee TE a ME Le

17 _ Q Your desktop had its hard drive removed?
18 A Yes.
19 Q And do you recall telling people at UConn that. it

20 was stolen?
21 "0 A Yes, from the office, Um, we get new equipment. —

rea

22 Q No, no, I'm not asking you a further question.
23 Bo you recall saying that your hard drive was stolen

24 when you returned your computer?

25 A  T believe so. |

boa tao

 

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. you were dismissed, has your doctor told you that you

Qo When did Susan Atrens, acting as the assistant

Byes oS Mg

director of Department of Internal Services and
A When? _ -
Q. Yes:
AE believe ¢ was 2005.
Q “When did Herbertia Williams evaluate your work
performance?

A Two thousand four? I believe it was 2004.

Q Since you' have Left: UConn in. Maxch of: 2008 when

could not work?
OR Yes.
Q Who?
A Um, they sent me from, uh, Social Security. 1
went to see doctor,
Q What doctor?
a od donit know his name, but they gave -~- uh, they

told me to go there for evaluation,

Q When was that?
a go dagtitp ow ee Tae Ge
A Tt was two times happened. That was, f believe,
was '§G9?

Spee oy

9 Okay. I think we established last time that you

started collecting social security disability -- or were
eligible in 1999. My question is a different time

= i , 2

 

 

 

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“practitioner with Dr.

frame. After leaving UConn in March of 2008, after you

were fired, has any doctor said you cannot work?
A No. —

Q Okay... But when did You start collecting social
security disability again? Because last time you told

me you were on Social Security Disability.

bon, ee
ay hoe way

“RO In 2006.

8 Ags you ‘sit here today, we've talked ‘about a

number of doctors and we taiked about a number last

the nurse

 

time, We talked about prt

voy,

 
   

| we've talked

Hecht ya

 

   
  

about Dr. § , uh, we've talked about Dr. €

 

-- something from social security, and some unidentified

doctors from social security. Are there any other

doctors that have treated you since 2000 that you have
not named?
A I don't remember all, go...

Q You can't recall. any other doctors?

eat Por mo : hy
'

i tops

A No.

Q rf you! -- rim N Sorry, AEA) was Dr.

tite {.

 

   

Ba
a Ee . oy

tf you. recall. any other doctors, ‘that have treated, YOU >

 

oh, and, of course, the Center has treated you “gince
2008. Xf you recall new other health care providers,
would you provide that to Attorney Gardner?

acct oe,

 

 

 

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ee hie

: Pome urges
ues AES

x ‘Sf

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A Besides that?

 

Q tIé£ thare's anyone else that you ‘remembabs
re ae ne

“ 9° 2. Would you’ give that name to’ Attorney Gardner
go that she can give it to ine? 1
BR Okay.

hat you were

 

M9" 'ptdYydu' éver tell “px

ay having. marital problems?

om

tobe

21

A Which -- what?

 

Q. Did you ever‘tell Dr. that you were
having marital problems?
A Marital? oe Se

Q Problems with your marriage?

A No.

Q What aid you tell the doctor about how you punish
your wife when she makes you. angry?

A I never gay that.

| i ‘THE REPORTER: Em sorry, what?

| ‘THE WITNESS : No, I didnt...

9 (By Ms. Brouillet) _ You never told anyone that
you ground your wife and deny her sex when you'xe angry
with her?

A No. ff don't remember. |

Q And go that appears in the records of the Center,

that would be inaccurate?

 

 

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14 .

15.

A tT don't know. I don't remember.

Q You don't! remember telling anyone that?
a Right. : 7 | | a
QO Do you remember ‘doing Lt?
A Nope.
Q Okay. What ‘do you hope to accomplish with this

lawsuit against UConn? Oe
A “Gustice, bights for others.
Q For others?

a an

A Yes, IT hope never: “fepeat’it. Like me, someone

else come work in professional. environment and be abused

sexually. It should be -- shouldn't be. And I think
right and wrong, the justice should be, you know --
someone see the justice. Where is the justice? I gee
it as a democracy world. I see a professional person
doing this. I think, uh, it's a horrible thing. And it
we and it destroyed nny life emotionally, physically,
mentally. | And this is a tot to me.

Q And do you. think what you did to -- how would you

describe what you did to Be

 

Was that

horrible?

ated eos ‘ ‘ :
A x think sO, horrible. .
2. De you, think phat a

A I -- go ahead.

 

Q Do you think that what you did co |

 

 

 

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~ 4 when sherwas.nine years old may .jhave affected.her life?
2 o- CAs > Yeah; but Tose thisiwai? agGtisatton. I never did
3 that to:her, to do -- to do sex with her or anything.

.4 Q Well, syou:-testified: last time that you had

  

-5 admitted that you. touched { 8 vagina

£6 numerous times when ‘she was nine years old. Do you

  

 

7 recall that? : ur 5 we we, Se
8 A, No, I didn't say that.
3 Q And so is it your testimony that you never
10 _ improperly touched
1 : A Mo. ©
L2 : Q | you never did? Do, you xecall having a polygraph
13 test? | _ —_
14 A Yes. |
15. - . | THE VIDBOGRAPHER: thr.
16 microphone. “hank you, sir. ——
17 8 (py Mes. prouillet) and following that polygraph

18 test, didn't you tell your adult probation officer, Mr.

19 Torres, that you had repeatedly touched

 

20 vagina?

eo EU ARB Soe
21 A i could -- yeah, 1 could tell her [sic], yes,
22 probably.
23 —Q@ You told him that?
a4 A Yes,
25 Q 80 ig it your testimony today, now that you're

a

 

 

 

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10,
“A I have to -- 2 have to say because I have my

an

12

14:

a5
16
18

19

2400

22

23

under oath, that that wasn't the truth?
A You're right.

Q Well, as you sit here today, what other

statements did you say to your probation officer that
weren't true?
(k buch ae?
Q rtm asking you. You just told me that you lied
Lo your probation officer. | - | a

A Under oath. Yim not under oath.

® .

“ty

O-- we
awe

family, so I have to go to treatment. ‘The court gave

 

order. I couldn't afford it. Be QO got, uh --

0 I'm ~~ there's no question pending, gir.

oY

A Okay. Go ahead.

Q Were you under oath on January 18, 2008?

A Yes. ; - ee
Q Before the criminal court? |

Ave
Q And do you recall the judge asking you questions?
(A Yes

’
2.8

2 And do you recall the judge telling you what the
charges were?
A Yeas. -

Q And do you recall. the court asking you under oath

 

 

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1 on Jahuary 18th, 2008, if your plea was voluntarily?
2k Yes. |
and what vas your reply?
4 A ves.

5 Q and do 3 you a recall i che court asking you on January

6. 18, 2008, “Nobody! s forced or threatened you in any way

7 to plead guilty?

7 ; a
3 A Yes. |

Qo Q And what was your reply?
Wo I said,“-yés
11” «g_ You'geia, yea," that gonebody forced you, on
12 threatened you? |
13. A Forcing my family, forcing’ me ~- my situation.
14e. 9 Well, six, I've marked as an exhibit the

15 transcript of that testimony. Let me read it to you.
16 7 ' "The Court," and I'm on Page 7, "Nobody's

17 forced or, threatened you in way to plead guilty,

18 question mark."
19 "She Defendant, no."

20 Did you tell the truth to the court when you

21 were under oath on January 18, 20087 .

ao
22 B, Yes, in that situation, yes.

23 Q Okay. — And the | cour a also asked you on that date,
24 January 18, 2098, ander oath, "and. you understand that

f Fey “oo. . vg CL ge

ao as part of the conviction of this offense, one of the

 

 

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fo aie BGS ee reer eee
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1 consequences will be ‘that’ you ‘have to register as a sex
“2 offender. Do you’ understand that?"

3 OAS. Yes, mavainy 2 ¥
+4 Q And do'-yeli- reihembet what your response was?
5 A Yes. moe a

6 tQs “And do! you retall-6n’ January 18,2008 the’ court
a7. auking’ you, *You-uhderstand that ‘the’ failure ‘to register
pec O%e £Q,Comp ly: with -those registration requirements can
OS give rise to a saparate crime known as failure to
10 _ register as a sex offendér which is a ‘Class -D felony."
LL : - A Yes.
12 _ 2 And what was your response? |
13 A I said yes, |
14. Q g0 to be elear, is it your testimony today that

4

15: when you're not under oath, you don't feel compelled to

+

LG tell the truth to your probation officer?

17 i ; oo NS. GARDNER; (Object to the form.

18 | Fou gan answer it,

19 | _THE WIINESS: Mell, x tell the truth as much

- a a * . . “ re
rey : aot at A

20 as IT can, But, uh, this situation, because I have my

De. HW
ai family and I couldn't afford it, to fight this case, and
an so I have to take the plea. I spend as much as I could
23 have, money, and, uh, and so I have to protect my -- my

24 kids. I have kids and wife, a family.

25 Q (By Me. Brouillet) And do you recall the court
ote wt wok ea on dee le. ee

C

 

 

 

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asking you when you were under oath in January - 18, 2008,

*

"Ali cight. ‘You. ‘undératand, has that as part of the -
conditions of your probation, you! re. Going “to be oO
required | to ‘undergo sexual “offender evaluation and
treatment, Part’ of that’ treatment fiay require you to
admit outside of the context of ‘the Alford Doctrine the
behavior that the ‘allegations here state that you've
engaged in." ane | |

A . Yes.

9. And what ‘did‘ you respond?
-A I said yes,

Q and do you recall the court saying to you on,
January 18, 2008, "And you understand that 1£ you don't
comply with that treatment, it can give raise to a
violation of probation. Do you understand that, sir?"

A Yes.

9 And what was your response?

A of said yes. That's why they violated me.

Q What do you mean that's why they violated you?

A They told me to admit it, and so I told them I --
I have anything to admit it. |

Q ho =
A And 80 the violated me,
Who ie tehey"?

x

A Probation. And I went to court nine months.

 

 

 

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“y “ wig, wee . woo Von ote :
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on 07/42/2011 Page 411
1 Q What was nine months?
2 A the ‘process” of thé™court,
3 °§)> wag that your >-- f6r your conviction of violation

4 of probation in 2009?

5 A Yes, yes. Because“he admitted.

6 Q And did you file this lawsuit after you were
“7 ~~ gonvicted’ of violation of’ probation? Foes
-.8 eof OA sLawsuit what?

9 Q ‘this lawsuit, sir. This lawsuit against the
10 University of Connecticut;

Ll | | A I'm sorry, I don't undexstand.
L2 Q Did you file this lawauit after you were

13 convicted of violation of probation?

14 Oe A Yes,

 

 

15.) Q Hag gued you?
16 A No.
17 —Q And do you know how Long i has to

18 sue you? —

 

 

19 A No.

20 (Other than your attorneys, has anyone discussed

24 suing you?

2a A No.

23 _@ is your home in your name?

24 A Yes. |

25 Q And what Raye you told your doctors about your
alund Soa Pata LE ie tes

 

 

 

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suing you?

 

concerns about
A No clue. it am Rorry, I don't know,

Q You don't know what you've told | your doctors?

A No.
9 Do you --
A Don't remenber.
Q okay.
} MS. BROUILLET: Okay. I may be done. I'm
going to take a five-minute break.

| THE VIDRBOGRAPHER: Off the record, 11:49.

(Thereupon, . a, short break was taken at 11:49

us

40

a.m. testimony continues at ai: :55 a.m. y

| THE VIDEOGRAPHER : On record, 11:55.

9 . (By Ms. prouillet) tte. omari, during the break,
did you have a chance to speak to your attorney?

A Yes.

Q Okay.

MS. BROUILLET ; i have no further questions

for you. a
| | Ms. GARDNER: _ Okay. Just a couple of

Pou

quastions, Me, Omari.

CROSS - EXAMINATION
BY MS. GARDNER: bo

Q Uh, Ms. Brouillet just asked you something about

your hard drive and whether you had told people at UConn

 

 

 

 
 

 

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Lu Or that it was recycled?

. couple of those exhibits. .

that your hard drive was stolen. And what -- what --
was there something..about your hard drive, uh, at around
the.time you, left; UConn, um, that wag unusual?

A We get new computers, :.The.old.computer was --
they. told me.to set it up in the lounge, and so the old
one; um, we recycle. -+.recycle,the whole thing, I think
that's.the jone..of, them. was -+-has. gone to recycle, BO..-27

; Q. And you, think that was your computer? |
AD Yeah, one of them was my computer, yes.

Q Okay. ‘soi did you tell’ people that it’ waa stolen

A Recycled.
bee Te, mye Po oa, \ . 2 ;
. BROUILLET: Objection. Just let me have
* “ Tah, II ae wo: Qf . '

Mi,

MS
See

TL

a moment to reapond. oO jection as to form.
You can answar.

THE WETNESS: Okay.

Q (By Ms. Gardner) Stolen or recycled?
A I think it is recycled, yea.

4

Q Okay . Um...

MS. GARDNER: I'm just going to want a

‘
:
wer Seek TR TVS Bag

MS. BROUILLET: Oh, sure. I was -- they may

be out of order.

whe Fe RT ae be poy Pea
MS, GARDNER: That's all right. &£ think ©

can find...

 

 

 

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no7i2/2ot4 : Page 414

 

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eo + “2:.4S.. BROUILLET: Can I ask which exhibits the

witness has in frontvef Wimp tee chs Tee

hee nd Ss GARPNER:. The appeal -- I don't know.

What are thet? Exhthit#24 atid, Exhibit *--° - Det et

tela et

ou. SHE WITNESS : Twenty-five.
We. GARDNER: ~+:twaenty-five;: Roo!
Potts MS. BROUILLET: Thank you.
AE teate bo MS. GARDNER: .. And Exhibit 11.

C (By Ms. Gardner) Um, Mr, Omari, I'm showing you

‘what has been maiked’ ds Exhibit’ 11, um, which is your

%

complaint in this case; is that right?

A, Yes.

i 4 os

wo a

Q And other | than the dates, igs everything in the
‘ Ae : : Mar, ope esas

complaint ~- uh, other pan the dates. and anything else

Wie tae Eva

that you've- Gox “rected in your prior testimony over these

i

two days, is everything correct oo

oom 4“ ost :
rh . ahs ‘

A Yes.

u4

0 -- im the complaint? Um, showing you what. hag
been marked | Exhibit 24, again, other than the dates, is
everything correct in | Exhibit 24?

A Yes.

» 4 :
yor aoe

Q nd Exhibit 25, other than the dates, is

everything that you've alleged in there correct?

a Poll neta ve a ate sie tial, A we bts, wg i

‘A Yes. .

wea gg . * es st poem
Sar ‘to . ou Dates a

Q Okay. I want bo draw your: attention bo sariier

eVth I wet a 4 ada Wiig 3 : wot

 

 

 

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i testimony about your friendship with I

2 think you'ta tbetizied Se de was, in your complaint

3 chat at Listed about fifteen years, and Ms. Brouillet

4 asked you when it ended, and you said May 2008; is that
coriect?” wh te

6 A No, May 2008.

4 Q Okay. And is that about the last time that you
. ar tte ete ae MR ee a ne

9 ‘A Yeah, the last day.

10. ) okay. ‘Um, there wis also -some earlier testimony
Wa ’

11 today about (RRR a e having, reported. in 2094 that
12 you had touched hex inappropriately. do you remember

13 that testimony?

14 A No, 1 don't know. But the no

15 Q ‘put do you remember the testimony earlier today?
16 A x 7 yes, yeah.

17 0 Okay. And when was the first time that you

18 Learned that : was accusing you of touching
13 her inappropriately?

20 * ugust. ~~ dt was August 2006 or '7.  E'm not sure
21 the dates exactly ' OO oe

i bow BAAS bg ban eit,
2a 9 Okay. Ang 5O if it's true that she reported this
; too ts Ly hey Ee

23 to _ somebody in 2004, you don't --

24 A i don't know.
25 MS GARDNER: ‘Objection as to form.

 

 

 

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‘THE WITNESS: I don't know.

MS, BROUILLET: You have to give me a chance

to respond, gir.
MS. GARDNER: That's all that I have.

REDIRECT EXAMINATION

BY MS. BROUILLET:

Q Just to follow up, Mr.

 

Attorney Gardner

web.

just asked you in regard to the CHRO complaint, which is
Ixhibit 24,

A Yes, matam. 0 20 oe

a ‘TE believe the question was, except for the dates,

everything else in that affidavit is accurate; do you

A

recall that?_
A Yes, matam.
Q Your response confuses me, six, because I asked
you earlier about being a program ~~ a business services
pergon versus a program aide, and you testified, 1
believe, that you weren't a permanent pusiness services.
Your position was permanent.
MS . GARDNER: Naney, can IT just suggest
something here?
| MS . BROUILLET Yes.
MS. GARDNER: “Can tI re-ask the question --
MS, BROUILLET: Certainly.

NS, GARDNER: ~- because at least with the

 

 

 

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i complaint I clarified that apart from the dates and your
2 earlier testimony, that's all q want to establish.

3 Oo Ms. BROULLLET: certainly.
40 | | - _ , RECROSS- EXAMINATION

(5 BY MR. GARDNER:

7 ay

 

: with respect to Hxhibit 24, 25, and

7 Lil, except for the dates and except everything for

1 *, eet ba ae

8 anything that you clarified earlier in your testimony

 

9 over éwo days, are the complaints accurate? Are --
10 UA Yes,
1 . | Qa Se those exhibits accurate?
12 A Yes. |
13 - | MS. GARDNER: Okay. That's fine.
1400 | MS. BROUILLET: I have nothing further for
15 you -- oh, one more question, Mr.
16 | THE WITNESS: sure,
17 | a, — _ FORTIER REDIRECT EXAMINATION

18 BY MS. BROULLLET:

13 Q if the records from the Department of Children

 
 

29 and Families show that §& complained about
21. you molesting her started in -- First complained in 2004

22 that you had molested her started in 1999, do you have

23 any reason to believe that thosa records are inaccurate?
24 A t don't know. .

25 Q Okay.

 

 

 

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~ “s'-€ase'3:09-cv-01071-JGM ‘Doctiment 73-8 Filed 01/27/12 Page 63 of 67
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fon 07/12/2014

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A She might, and so t'm not, sure,

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BROULLLET# ; Thankyou. I have.nothing

/.. THE VIDEOGRAPHER: . Off the record, .12:02..

12:02 pim.)

.{Thereupon, the deposition.concludes .at

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‘ - JOH DOE VS. UNIVERSITY OF CONNECTICUT
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1 JURAT

 

 

| do hereby certify that the

 

5 foregoing testimony given by me on July 12, 2011, is
6 true and accurate, including any corrections noted on
7 tha corrections page, to the best of my knowledge and

8 belief,

10 a rr
y Tay - toon

11

 

 

13

14

 

15
16

17 , |

18 Subscribed to and sworn before me on this

L9 _ day of 2011.

 

aa My Notary Expires:

 

 

 

 

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CORRECTION SHEET

I, * do hereby certify that the following

  

corrections and additions are true and accurate to the

best of my knowledge and belief.

CORRECTION PAGE LINE REASON

ead epee:
Ae SE ep EES

DATE
At in said County of _ Co. 1

this day of , 2011, personally

 
 

appeared § ; and he made oath to the truth of

the foregoing corrections by his subscribed.
Before me, , , Notary Public

My Notary Expires:

 

 

  

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_ STATE OF CONNECTICUT

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fo. ' Doaf

I, Aretha S. Martin, a Notary Public duly
commissioned and qualified in and for the State of
Connecticut, do hereby certify that pursuant to notice

there came before me on the 12th day of July, 2011, the

CoP

 

following-named person, to wit: § who was by

me duly. sworn to testify to the truth and nothing but

the truth; that he was thereupon carefully examined upon

his oath and examination ‘reduced ‘to. writing under my

supervision; that this deposition isa true record of
the testimony given by the witness.

I further certify that I am neither attorney nor

counsel for mor related to nor employed by any of the
parties to the action in which this deposition is taken,

and further that I am not a relative or employee of any

attorney or counsel employed’ by the parties hereto, or
financially interested in this action. |
IN WITNESS THEREOF, 1 have hereunto set my hand .
this 29th day of July, 2022.
lee DEY ou aR ciAcgse et

Aretha S, Martin, Notary Public

 

My Notary Expires: June 30, 2012.

 

 

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“LO

 

Brandon Smith Reporting Service
rr rr 249 Pearl Street. ee
Hartford, CT 06103
* (800) 852-4589

Guly 31, 2011
Attorney Barbara E, Gardner, Esq
Law Offices of. Barbara E£.:‘Gardner

843 Main Street, Suite 1-4
Manchester, CT 06040

Dear Ms. Gardner:

 

on Pauly 12, 2011.

The original jurat and errata. ‘sheets are also enclosed.
Please note that the witnéss is allowed 30 days to read
and sign the deposition as the rules provide.

Please retucn only the original notarized jurat and
errata sheets to Attorney Brouillet, along with a copy
to all' counsel present. Thank | you for your prompt
attention to" this matter.

If you’ have any questions, please call me.

Sincerely yours,
Aretha S. Martin, LSR, Court Reporter

CC: Nancy A. Brouiliet, Esq.

 

 

 

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